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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     SUSAN BICKAR
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,       )     Case No. 2:09-CR-00299-EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   SUSAN BICKAR,                   )
          aka SUSAN M. CARLSON and   )     Date:    November 13, 2009
15   TIMOTHY F. CARLSON,             )     Time:    10:00 a.m.
                                     )
16                  Defendants.      )     Judge: Honorable Edward J. Garcia
     _______________________________ )
17
18        It is hereby stipulated between the parties, Matthew D. Segal,
19   Assistant United States Attorney, Caro Marks, attorney for defendant
20   Susan Bickar, and Jay Greiner, attorney for Timothy F. Carlson, as
21   follows:
22        The Status Conference date of October 2, 2009, should be continued
23   until November 13, 2009.
24        The reason for the continuance is to give defense counsel adequate
25   time to complete a forensic psychiatric examination of the defendant,
26   set to take place October 16, 2009. Defense counsel also needs
27   additional time to review the plea agreement with the defendant.      After
28   the mental health evaluation it is anticipated defendant will enter a
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 1   guilty plea.
 2        IT IS STIPULATED that the period from the date of this stipulation
 3   up to and including November 13, 2009, be excluded in computing the
 4   time within which trial must commence under the Speedy Trial Act,
 5   pursuant to     18 U.S.C. § 3161(h)(7)(A) & (B)(iv), to permit necessary
 6   preparation by defense counsel.
 7   Dated:    October 1, 2009
 8                                             Respectfully submitted,
 9                                             DANIEL BRODERICK
                                               Federal Defender
10
11                                             /s/ Caro Marks
                                               ________________________
12                                             CARO MARKS
                                               Assistant Federal Defender
13                                             Attorney for Defendant
                                               SUSAN BICKAR
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15
                                               /s/ Jay Greiner
16   Dated: October 1, 2009                    _________________________
                                               JAY GREINER
17                                             Attorney for Defendant
                                               TIMOTHY F. CARLSON
18
     Dated:    October 1, 2009
19
                                               LARRY G. BROWN
20                                             United States Attorney
21
                                               /s/ Matthew D. Segal
22                                             ___________________________
                                               MATTHEW D. SEGAL
23                                             Assistant U.S. Attorney
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 1                                        ORDER
 2
 3        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 4   ordered that the hearing presently set for October 2, 2009, be
 5   continued to November 13, 2009, at 10:00 a.m.        Based on the
 6   representations of defense counsel and good cause appearing therefrom,
 7   the Court hereby finds that the failure to grant a continuance in this
 8   case would deny defense counsel reasonable time necessary for effective
 9   preparation, taking into account the exercise of due diligence.       The
10   Court finds that the ends of justice to be served by granting a
11   continuance outweigh the best interests of the public and the defendant
12   in a speedy trial.   It is ordered that time from the date of this
13   stipulation to and including November 13, 2009, the status conference
14   shall be excluded from computation of time within which the trial of
15   this matter must be commenced under the Speedy Trial Act pursuant to 18
16   U.S.C. § 3161(h)(7)(A) & (B)(iv), to allow defense counsel time to
17   prepare.
18        IT IS SO ORDERED.
19
20   DATED: October _1, 2009          _____/s/ Edward J.
                                           EDWARD J. GARCIA
21                                         United States District Judge
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